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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION at FRANKFORT

CRIMINAL ACTION NO. 08-21-KSF

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                    OPINION & ORDER

LEONARD LAWSON,
CHARLES WILLIAM “BILL” NIGHBERT, and
BRIAN RUSSELL BILLINGS                                                              DEFENDANTS

                                       ************

       Currently before the Court is the motion of the United States of America for partial

reconsideration [DE #513] of the Court’s previous Opinion and Orders of October 19, 2009

regarding severance and Enright findings [DE # 509, 511]. This motion is fully briefed and is ripe

for review.

       While the United States concedes that the Federal Rules of Criminal Procedure do not

specifically authorize motions for reconsideration, it argues that reconsideration in this case is

appropriate and necessary to correct errors, prevent manifest injustice, and present newly discovered

evidence. First, the United States contends that the evidence is overwhelming that Billings joined

an obstruction conspiracy. However, for the reasons explained in the Court’s Opinion & Order of

October 19, 2009 [DE #511], the Court continues to find that the United States has failed to establish

its burden of proving, by a preponderance of the evidence, that Billings knew of, and agreed to join,

any conspiracy. The newly cited evidence - the visitor’s log from the District 7 office showing that

Billings visited with Rummage for over 1 hour on March 7 - does not change the Court’s conclusion.

       Next, the United States argues that the Billings recordings have an independent basis for

admissibility aside from the coconspirator rule. The Court’s Enright ruling, however, only relates
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to admissibility of the United States’ designated statements under FRE 801(d)(2)(E). Whether or

not these recordings are admissible under some other theory has yet to be determined, despite the

defendants’ arguments to the contrary.

       Finally, the United States contends that the June 2006 request by Nighbert to Rummage to

obtain an estimate is not hearsay, but rather a verbal act. Again, the Court has not yet made any

rulings on the admissibility or non-admissibility of any statements outside of the coconspirator

statement exception to the hearsay rule, so there is nothing to reconsider at this point. If the

defendants seek a ruling excluding any evidence the United States may seek to admit, they are

entitled to bring the matter before the Court in a motion in limine.

       Accordingly, for the reasons set forth above, and the Court being fully and sufficiently

advised, IT IS HEREBY ORDERED that the United States’ motion for reconsideration [DE # 513]

is DENIED.

       This 19th day of November, 2009.
